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                      UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF WYOMING

In re:                              )
                                    )
Mark and Margaret Knickerbocker,    )       Case No. 17-02018
                                    )
                                    )       Chapter 7
                                    )
Debtors.                            )
_________________________________)
PATRICK S. LAYNG,                   )
United States Trustee for Region 19 )       Adv. Pro. 17-02018
                                    )
Plaintiff,                          )
                                    )
v.                                  )
                                    )
Mark and Margaret Knickerbocker,    )
                                    )
Defendants.                         )
________________________________________________________________________

                              DISCOVERY PLAN REPORT
_____________________________________________________________________________

         Pursuant to the Court’s Order Setting Pretrial Scheduling Conference (Adv. Doc. #

4), the following joint discovery plan report is filed by the above captioned parties (the

“Parties”):

         1.    Settlement Conference.     Pursuant to Bankruptcy Rule 7026(f) and

Wyoming LBR 7016-1 and 7026-1, on April 26, 2017, the Parties conferred and

discussed (a) the nature and basis of their claims and defenses; and (b) the possibilities

for a prompt settlement or resolution of the case. The Parties were unable to resolve the

issues within the adversary proceeding and did not settle the case.



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       2.     Pre-Discovery Disclosures.            The    Parties   will    exchange      the

information required by Fed. R. Civ. P. 26(a)(1) by August 15, 2017.

       3.     Discovery and Scheduling Plan.

              a)     Discovery will be needed before trial on the subjects of the merits of

              the Plaintiff’s claims and on the merits of the Defendants’ defenses, but the

              discovery will not delay motions for summary judgment or oppositions

              thereto. All discovery should be completed by September 30, 2017. The

              Parties hereby consent to allowing each party to depose more than three (3)

              individuals if deemed necessary.

              (b)    The Parties anticipate that the Court will set deadlines for the

              amendment of pleadings, the filing of dispositive motions, and trial.

Dated: July 31, 2017.

Respectfully submitted,

PATRICK S. LAYNG
UNITED STATES TRUSTEE
REGION 19


___/s/ Daniel Morse ____________________          ______/s/ Ken McCartney________
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